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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     JUAN PABLO VELAZQUEZ
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. S 04-388 MCE
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   JUAN PABLO VELAZQUEZ,                                RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable MORRISON C. ENGLAND, Jr.
16
17             Defendant, JUAN PABLO VELAZQUEZ by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 17, 2007, this Court sentenced Mr. Velazquez to a term of 135 months

25   imprisonment;

26             3.         His total offense level was 31, his criminal history category was III, and the

27   resulting guideline range was 135 to 168 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Velazquez was subsequently lowered by
2    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Velazquez’s total offense level has been reduced from 31 to 29, and his
5    amended guideline range is 108 to 135 months; however, he is subject to a mandatory minimum
6    sentence of 120 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Velazquez’s term of imprisonment to a term of 120 months.
9    Respectfully submitted,
10   Dated: February 19, 2015                           Dated: February 19, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/ Jason Hitt                                    /s/ David M. Porter
14   JASON HITT                                         DAVID M. PORTER
     Assistant U.S. Attorney                            Assistant Federal Defender
15
     Attorney for Plaintiff                             Attorney for Defendant
16   UNITED STATES OF AMERICA                           JUAN PABLO VELAZQUEZ

17
                                                       ORDER
18
               This matter came before the Court on the stipulated motion of the defendant for reduction
19
     of sentence pursuant to 18 U.S.C. § 3582(c)(2).
20
               The parties agree, and the Court finds, that Mr. Velazquez is entitled to the benefit
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     Amendment 782, which reduces the total offense level from 31 to 29, resulting in an amended
22
     guideline range of 108 to 135 months; however, he is subject to a mandatory minimum sentence
23
     of 120 months.
24
               IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2007 is
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     reduced to a term of 120 months.
26
               IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
27
     remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
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     Stipulation and Order Re: Sentence Reduction          2
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1    reduction in sentence, and shall serve certified copies of the amended judgment on the United
2    States Bureau of Prisons and the United States Probation Office.
3              Unless otherwise ordered, Mr. Velazquez shall report to the United States Probation
4    Office within seventy-two hours after his release.
5              IT IS SO ORDERED.
6    Dated: February 23, 2015
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     Stipulation and Order Re: Sentence Reduction      3
